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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


CHEKETA MCKNIGHT-NERO.,
14124 Rippling Brook Dr.,
Silver Spring, MD 20906


       Plaintiff, individually and on
       behalf of all others similarly situated,            Civil Action No.: 1:20-cv-1541
v.

WALMART, INC.
701 South Walton BLVD.,
Bentonville, AR 72716

       Defendant.

______________________________________________________________________________

                                COMPLAINT
______________________________________________________________________________

       Plaintiff Cheketa McKnight-Nero, individually, and on behalf of all others similarly situated,

brings forth this action against Walmart, Inc. (hereinafter “Walmart”) and respectfully states as

follows:

                                  PRELIMINARY STATEMENT

       Walmart’s efforts to provide exclusive shopping hours to seniors and customers with

compromised health conditions is laudable. However, Walmart’s policy of requiring door security

officers to arbitrarily identify which shoppers are, “...Customers with Compromised Health,” is

implemented in a discriminatory manner. Walmart’s arbitrary policy of allowing contracted security

guards to identify people whom they perceive as disabled or not, and to control entry, is a violation

of the D.C. Human Rights Act and the Americans with Disabilities Act.
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                                    JURISDICTION

1. Jurisdiction is pursuant to 28 U.S.C. § 1391 and 28 U.S.C. § 1332.

                                        VENUE

2. Venue is proper pursuant 28 U.S. Code § 1391(b)(1) and (2) because Defendants are

   located in this judicial district and conduct business in this judicial district. Venue is also

   proper because a substantial part of the events giving rise to these claims occurred in this

   judicial district.

                                        PARTIES

3. Plaintiff Cheketa McKnight-Nero is a natural person and resident of the state of Maryland.

4. Defendant Walmart, Inc. is an employer and regularly conducts and transacts business

   within this judicial district. Walmart, Inc. is based in Bentonville, Arkansas.

                            CLASS ACTION ALLEGATIONS

5. Plaintiff maintains that pursuant to FRCP 23, the class is so numerous that joinder of all

   members is impracticable, there are questions of law or fact common to the class; the

   claims or defenses of the representative parties are typical of the claims or defenses of the

   class; and the representative parties will fairly and adequately protect the interests of the

   class.

6. This action is necessary to protect the civil rights of Plaintiff, and all others similarly

   situated, who have been injured by the pertinent discriminatory acts or practices

   committed by Walmart’s host agents, representatives, and servants of any type.

7. This action is necessary and increasingly important to protect the civil rights of Plaintiff,

   and all others similarly situated, that are considered as having an impaired immune system

   or “immunocompromised,” during the COVID-19 global pandemic.




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8. Walmart designates shopping times for people with disabilities. Walmart provides

    exclusive shopping periods between the time of 6:00 am to 7:00 am, for Senior citizens

    over the age of 65 and people who have an impaired immune system, or identify as

    “immunocompromised.”

9. Walmart’s policy affording “immunocompromised’ consumers the opportunity to shop

    during exclusive shopping periods is not uniform. Walmart relies on hired security to

    subjectively identify prospective consumers who are “immunocompromised.”

10. Walmart’s non-uniform policy of relying on security guards to identify who is considered

    “immunocompromised,” adversely affects those that are disabled, and are not easily

    identified visually as immunocompromised.

11. Walmart’s non-uniform policy of relying on security guards to identify who is considered

    “immunocompromised,” adversely affects those that are disabled, but do not meet the

    subjective test of a Walmart security guard.

12. The reason for not joining all potential class members as Plaintiffs is that upon information

    and belief, there are hundreds of potential plaintiffs that have been harmed or in imminent

    harm, making it impractical to bring them before the Court. All plaintiffs are considered

    in a “high risk” category because they have an impaired immune system or

    “immunocompromised,” during the COVID-19 global pandemic. (See Ex. 1, statements

    made via Twitter by those similarly situated to Plaintiff, and harmed by similar policies

    enacted by Walmart, Inc.).

13. Plaintiffs are even more high risk when shopping in grocery/department stores during the

    pandemic. The discriminatory actions complained of were taken in the line and scope of

    such Defendants’ employment, agency or representation.




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14. There are many persons (approximately in the thousands), both in Plaintiff’s residential

    district and in regions surrounding Defendant who are similarly situated that have been

    affected and the question to be determined is one of common and general interest to many

    persons constituting the Class to which Plaintiff belongs and the group is so numerous as

    to make it impracticable to bring them all before the Court, for which reason Plaintiff

    initiates this litigation for all persons similarly situated pursuant to FRCP 23.

15. Issues and questions of law and fact common to the members of the class predominate

    over questions affecting individual members and the claims of Plaintiff’s are typical of the

    claims of the proposed class. Issues and questions of law and fact include allegations made

    upon information and belief of Violation of the D.C. Human Rights Act and Violation of

    the American’s with Disabilities Act.

16. Plaintiff seeks to maintain this action as a 23(b)class action as Walmart has acted or refused

    to act on grounds that apply generally to the class, so that final injunctive relief or

    corresponding declaratory relief is appropriate respecting the class as a whole.

17. The maintenance of this litigation as a class action will be superior to the other methods

    of adjudication in promoting the convenient administration of justice.

18. Plaintiff Cheketa McKnight-Nero will fairly and adequately assert and protect the interests

    of the Class.


                                  FACTUAL ALLEGATIONS

19. Cheketa McKnight., a resident of the state of Maryland is diabetic, has Polycythemia Vera,

    anemic, high blood pressure and has endured several strokes in her life. Consequently, she

    is considered “immunocompromised,” or someone with a compromised health condition.




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20. On May 12, 2020, McKnight-Nero traveled to the Walmart located on 5929 Georgia Ave,

   NW, Washington DC 20011. The location provides exclusive shopping for “Seniors and

   Customers with Compromised Health,” to shop during the COVID-19 public health

   crisis. Exclusive shopping permits customers with compromised health conditions to

   shop, while reducing their risk of contracting COVID-19 during regular business hours.

21. The Georgia Avenue Walmart location designates Tuesday and Thursday between 6:00

   am to 7:00 am, for “Seniors and Customers with Compromised Health,” to exclusively

   shop.

22. On May 12, 2020, McKnight-Nero arrived at the Georgia Avenue location at

   approximately 6:20 am. Upon arriving to the entrance of the store, she was prohibited

   from entering the store by a contracted security guard from Brosnan Security Solutions.

23. Walmart contracts with Brosnan Security to perform security services at the Georgia

   Avenue location.

24. McKnight-Nero told the guard that she was an individual with a compromised immune

   system and that she should be allowed to shop during the exclusive timeframe for “Seniors

   and Customers with Compromised Health.” The guard refused to allow McKnight-Nero

   into the store because he did not believe that she was a “...Custome[r] with Compromised

   Health.”

25. After denied entry, McKnight-Nero requested to speak with a Walmart store manager.

   The Walmart guard refused to retrieve the manager. Minutes later, an older female shopper

   (appearing to be in her late 50’s) came to the entrance of the store. The shopper told

   McKnight-Nero that she too had a compromised health condition, but the same security

   guard allowed her to enter the store.




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26. McKnight-Nero continued to request that the Walmart guard allow her into the store for

   the exclusive shopping. McKnight-Nero informed the guard that if she was not allowed

   to shop during the designated hours, she would be unable to shop for essential items that

   she needed for the week. She also informed the Walmart guard that shopping outside of

   the exclusive hours could put her life at risk, by contracting the coronavirus. The Walmart

   guard still refused entry to McKnight-Nero.

27. Growing seriously concerned, McKnight-Nero decided to walk to a nearby police station,

   which is located adjacent to the Georgia Avenue, Walmart. The officers at the precinct

   told McKnight-Nero that she would have to call the emergency telephone line, in order

   for officers to meet her at the Georgia Avenue Walmart. McKnight-Nero called the

   emergency line and approximately two-to-three minutes later, three officers from the

   District of Columbia Police Department (“officers”) appeared at the Georgia Avenue

   Walmart.

28. When the officers arrived, McKnight-Nero told the officers that the Walmart security

   guard was prohibiting her from entering the store between 6:00 am and 7:00 am, even

   though she was a “...Custome[r] with Compromised Health.” She explained that she was

   disabled and had suffered from two previous strokes. She stated that she could provide

   the officers with her disability car tags as proof. But the officers stated that there was no

   need.

29. The officers asked the Walmart security guard whether he was aware that the sign allowed

   for “...Customers with Compromised Health” to enter the store between designated times.

   The security guard stated that he understood, but that the Walmart instructed him to allow

   only “seniors” to enter the store between 6:00 am and 7:00 pm.




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30. The officers requested that the Walmart guard call the manager to come down and speak

    with them at the entrance of the store. After several minutes, a manager did not appear.

    The officers persistently asked the Walmart guard how long it would take for a manager

    to appear. But a Walmart manager never appeared.

31. The guard finally allowed McKnight-Nero to enter the store, but after 7:00 am.

32. McKnight-Nero walked into the store, but could not shop due to the stress and anxiety of

    shopping with the public, and possibly contracting coronavirus.

                                     PLAINTIFF’S CLAIMS

        Count 1: Public Accommodations Violation - D.C. Human Rights Act

33. Plaintiff incorporates all paragraphs herein seriatim.

34. Defendant, a private store servicing customers in the District of Columbia, by and

    through, its agents or supervisors, unlawfully refused entry to Plaintiff after she identified

    herself with a disability. Defendant did not perceive Plaintiff to have a disability prior to

    store entry, but did perceive others to have disabilities prior to store entry.

35. Plaintiff prays for judgment against Defendant for all damages allowable by law, statutory

    damages, compensatory damages, punitive damages, pre-judgment interest at the legal rate,

    post-judgment interest at the judgment rate, attorney’s fees as may be awarded by the

    Court, the costs of this action, equitable relief, and such other and further relief as may

    appear warranted by this action.

                Count 2: Disability Discrimination - D.C. Human Rights Act

36. Plaintiff incorporates all paragraphs herein seriatim.

37. Defendant, by and through, its agents or supervisors, unlawfully refused entry to Plaintiff

    because it did not perceive Plaintiff to have a disability prior to store entry, but did perceive

    others to have disabilities prior to store entry.



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38. Plaintiff prays for judgment against Defendant for all damages allowable by law, statutory

    damages, compensatory damages, punitive damages, pre-judgment interest at the legal rate,

    post-judgment interest at the judgment rate, attorney’s fees as may be awarded by the

    Court, the costs of this action, equitable relief, and such other and further relief as may

    appear warranted by this action.

                Count 3: Disability Discrimination – Americans with Disabilities Act

39. Plaintiff incorporates all paragraphs herein seriatim.

40. Defendant, by and through, its agents or supervisors, unlawfully refused entry to Plaintiff

    because it did not perceive Plaintiff to have a disability prior to store entry, but did perceive

    others to have disabilities prior to store entry.

41. Plaintiff prays for judgment against Defendant for all damages allowable by law, statutory

    damages, compensatory damages, punitive damages, pre-judgment interest at the legal rate,

    post-judgment interest at the judgment rate, attorney’s fees as may be awarded by the

    Court, the costs of this action, equitable relief, and such other and further relief as may

    appear warranted by this action.

                         Count 4: Negligent Retention, Training, and Supervision

42. Plaintiff incorporates all paragraphs herein seriatim.

43. Defendant, by and through, its agents or supervisors, owed a duty of care to its patrons.

    Defendant breached that duty by failing to retain, train, and supervise its agents or

    employees about disability discrimination.

44. Defendants failure to retain, train and supervise agents or employees caused Plaintiff harm.

    As a result, Plaintiff suffered damages.

45. Plaintiff prays for judgment against Defendant for all damages allowable by law, statutory

    damages, compensatory damages, punitive damages, pre-judgment interest at the legal rate,



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    post-judgment interest at the judgment rate, attorney’s fees as may be awarded by the

    Court, the costs of this action, equitable relief, and such other and further relief as may

    appear warranted by this action.

                                         CLASS CLAIMS

        Count 5: Disparate Impact – Public Accommodation Discrimination
                               D.C. Human Rights Act

46. Plaintiff incorporates all paragraphs herein seriatim.

47. Defendant, a private store servicing customers in the District of Columbia, by and

    through, its agents or supervisors, unlawfully refused entry to prospective customers after

    identifying a disability.

48. Defendant, a private store servicing customers in the District of Columbia, implements a

    policy that randomly selects customers that it perceives to have a disability, to shop in its

    stores during exclusive shopping hours for vulnerable COVID-19 customers.

49. Defendant’s policy of selecting customers that it believes has a disability, disproportionally

    impacts those with unseen or non-visible disabilities, and increases their risk of harm with

    shopping with the general public.

50. Plaintiff prays for judgment against Defendant for all damages allowable by law, statutory

    damages, compensatory damages, punitive damages, pre-judgment interest at the legal rate,

    post-judgment interest at the judgment rate, attorney’s fees as may be awarded by the

    Court, the costs of this action, equitable relief, and such other and further relief as may

    appear warranted by this action.

Count 6: Disparate Impact – Disability Discrimination – D.C. Human Rights Act

51. Plaintiff incorporates all paragraphs herein seriatim.




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52. Defendant, a private store servicing customers in the District of Columbia, by and

    through, its agents or supervisors, unlawfully refused entry to prospective customers after

    identifying a disability.

53. Defendant, a private store servicing customers in the District of Columbia, implements a

    policy that randomly selects customers that it perceives to have a disability, to shop in its

    stores during exclusive shopping hours for vulnerable COVID-19 customers.

54. Defendant’s policy of selecting customers that it believes has a disability, disproportionally

    impacts those with unseen or non-visible disabilities, and increases their risk of harm with

    shopping with the general public.

55. Plaintiff prays for judgment against Defendant for all damages allowable by law, statutory

    damages, compensatory damages, punitive damages, pre-judgment interest at the legal rate,

    post-judgment interest at the judgment rate, attorney’s fees as may be awarded by the

    Court, the costs of this action, equitable relief, and such other and further relief as may

    appear warranted by this action

Count 7: Disparate Impact - Disability Discrimination - Americans with Disabilities
Act

56. Plaintiff incorporates all paragraphs herein seriatim.

57. Defendant, a private store servicing customers in the District of Columbia, by and

    through, its agents or supervisors, unlawfully refused entry to prospective customers after

    identifying a disability.

58. Defendant, a private store servicing customers in the District of Columbia, implements a

    policy that randomly selects customers that it perceives to have a disability, to shop in its

    stores during exclusive shopping hours for vulnerable COVID-19 customers.




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        59. Defendant’s policy of selecting customers that it believes has a disability, disproportionally

            impacts those with unseen or non-visible disabilities, and increases their risk of harm with

            shopping with the general public.

        60. Plaintiff prays for judgment against Defendant for all damages allowable by law, statutory

            damages, compensatory damages, punitive damages, pre-judgment interest at the legal rate,

            post-judgment interest at the judgment rate, attorney’s fees as may be awarded by the

            Court, the costs of this action, equitable relief, and such other and further relief as may

            appear warranted by this action

                                     PRAYER FOR RELIEF
                               PLAINTIFF DEMANDS TRIAL BY JURY

        Plaintiff, individually, and on behalf of all others similarly situated, prays that judgment be

entered against Defendant Walmart, Inc. for all damages allowable (including statutory, actual,

compensatory, nominal, and punitive) injunctive, expenses, attorney’s fees, and for such other and

further relief as may be just and proper.



Dated: June 10, 2020

                                    By: /s/Ikechukwu Emejuru
                                         Ikechukwu Emejuru
                                         Emejuru Law L.L.C.
                                         8403 Colesville Road
                                         Suite 1100
                                         Silver Spring, MD 20910
                                         Telephone: (240) 638-2786
                                         Facsimile: 1-800-250-7923
                                         iemejuru@emejurulaw.com

                                         Andrew Nyombi, Esq.
                                         KNA Pearl L.L.C.
                                         8701 Georgia Avenue
                                         Suite 606
                                         Silver Spring, MD 20910
                                         Telephone: (301) 585-1568



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                      Facsimile: 1-800-250-7923
                      anyombi@knapearl.com

                      Attorneys for Plaintiff Individually
                      and others similarly situated




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